     Case 2:90-cv-00520-KJM-SCR     Document 5952      Filed 10/15/18        Page 1 of 2


 1      XAVIER BECERRA                              Hanson Bridgett LLP
        Attorney General of California              PAUL B. MELLO, State Bar No. 179755
 2      MONICA N. ANDERSON                          SAMANTHA D. WOLFF, State Bar No. 240280
        Senior Assistant Attorney General            425 Market Street, 26th Floor
 3      JAY C. RUSSELL                               San Francisco, California 94105
        Supervising Deputy Attorney General          Telephone: (415) 777-3200
 4      MANEESH SHARMA, State Bar No. 280084         Fax: (415) 541-9366
        Deputy Attorney General                      E-mail: pmello@hansonbridgett.com
 5       455 Golden Gate Avenue, Suite 11000
         San Francisco, CA 94102-7004
 6       Telephone: (415) 510-3621
         Fax: (415) 703-1234
 7       E-mail: maneesh.sharma@doj.ca.gov
        Attorneys for Defendants
 8

 9                         IN THE UNITED STATES DISTRICT COURTS

10                        FOR THE EASTERN DISTRICT OF CALIFORNIA

11                       AND THE NORTHERN DISTRICT OF CALIFORNIA
12              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
13                PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
14
        RALPH COLEMAN, et al.,                      2:90-cv-00520 KJM-DB
15
                                        Plaintiffs, THREE-JUDGE COURT
16
                    v.
17

18      EDMUND G. BROWN JR., et al.,
19                                    Defendants.
20
        MARCIANO PLATA, et al.,                     C01-1351 JST
21
                                        Plaintiffs, THREE-JUDGE COURT
22
                    v.
23                                                  DEFENDANTS’ OCTOBER 2018 STATUS
                                                    REPORT IN RESPONSE TO FEBRUARY
24      EDMUND G. BROWN JR., et al.,                10, 2014 ORDER
25                                    Defendants.
26

27

28

                                                                   Defendants’ October 2018 Status Report
                                                       Case Nos. 2:90-cv-00520 KJM-DB & C01-1351 JST
     Case 2:90-cv-00520-KJM-SCR            Document 5952         Filed 10/15/18        Page 2 of 2


 1              The State submits this status report on the current in-state and out-of-state adult prison
 2     populations and the measures being taken to comply with the Court’s February 10, 2014 Order
 3     Granting in Part and Denying in Part Defendants’ Request for Extension of December 31, 2013
 4     Deadline (February 10, 2014 Order). Exhibit A sets forth the current design bed capacity,
 5     population, and population as a percentage of design bed capacity for each state prison and for all
 6     state prisons combined. Exhibit B sets forth the status of the measures Defendants have
 7     implemented as required by the February 10, 2014 Order. (ECF 2766/5060 at ¶¶ 4-5.)
 8              As of October 10, 2018, 115,714 inmates were housed in the State’s 34 adult institutions
 9     and 1,577 inmates were housed in out-of-state facilities.1 (Ex. A.) The State’s prison population
10     is approximately 136.0% of design capacity. (Ex. A.)
11

12         Dated: October 15, 2018                              XAVIER BECERRA
                                                                Attorney General of California
13
                                                                By: /s/ Maneesh Sharma
14                                                                  MANEESH SHARMA
                                                                    Deputy Attorney General
15                                                                 Attorneys for Defendants

16         Dated: October 15, 2018                              HANSON BRIDGETT LLP

17                                                              By: /s/ Paul B. Mello
                                                                    PAUL B. MELLO
18                                                                 Attorneys for Defendants

19
20

21

22

23

24

25

26

27
       1
28      The data in Exhibit A is taken from CDCR’s October 10, 2018 weekly population report,
       available on CDCR’s website at https://sites.cdcr.ca.gov/research/population-reports/.
                                                         1
                                                                             Defendants’ October 2018 Status Report
                                                                 Case Nos. 2:90-cv-00520 KJM-DB & C01-1351 JST
